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 6

 7
                                  UNITED STATES DISTRICT COURT
 8                                 NORTHERN DISTRICT OF TEXAS

 9
      Flash90 LTD,
10
                               Plaintiff,                Case No:
11

12            v.                                         COMPLAINT

13    DALLAS-FORT WORTH HOSPITAL                         DEMAND FOR JURY TRIAL
      COUNCIL VENTURES, INC.,
14

15                             Defendant.

16
            Plaintiff Flash90 LTD (“Plaintiff”), by and through its undersigned counsel, for its
17
     Complaint against defendant DALLAS-FORT WORTH HOSPITAL COUNCIL VENTURES,
18
     INC. (“Defendant”) states and alleges as follows:
19
                                            INTRODUCTION
20
            1.      This action seeks to recover damages for copyright infringement.
21
            2.      Plaintiff herein creates photographic images and owns the rights to these
22
     photographs which Plaintiff licenses for various uses including online and print publications.
23
            3.      Defendant owns and operates a website known as gp1.com (the “Website”).
24
            4.      Defendant, without permission or authorization from Plaintiff actively copied,
25
     stored, and/or displayed Plaintiff's photographs on the Website and engaged in this misconduct
26
     knowingly and in violation of the United States copyright laws.
27

28

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 1
                                                 PARTIES
 2
             5.      Plaintiff Flash90 Ltd. is a photography company that maintains its principal
 3
     place of business at 14 Hillel Street in Jerusalem, Israel.
 4
             6.      Upon information and belief, Defendant DALLAS-FORT WORTH HOSPITAL
 5
     COUNCIL VENTURES, INC., is a Texas corporation with a principal place of business at 300
 6
     Decker Drive, Irving in Dallas County, Texas and is liable and responsible to Plaintiff based on
 7
     the facts herein alleged.
 8
                                     JURISDICTION AND VENUE
 9
             7.      This Court has subject matter jurisdiction over the federal copyright
10
     infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
11
              8.     This Court has personal jurisdiction over DALLAS-FORT WORTH
12
     HOSPITAL COUNCIL VENTURES, INC. because it maintains its principal place of business
13
     in Texas.
14
              9.     Venue is proper under 28 U.S.C. §1391(a)(2) because DALLAS-FORT
15
     WORTH HOSPITAL COUNCIL VENTURES, INC. does business in this Judicial District
16
     and/or because a substantial part of the events or omissions giving rise to the claim occurred in
17
     this Judicial District.
18
                                 FACTS COMMON TO ALL CLAIMS
19
             10.     Plaintiff is a professional photography company by trade who is the legal and
20
     rightful owners of photographs which it licenses to online and print publications.
21
             11.     Plaintiff has invested significant time and money in building Plaintiff's
22
     photograph portfolio.
23
             12.     Plaintiff has obtained active and valid copyright registrations from the United
24
     States Copyright Office (the “USCO”) which cover many of Plaintiff's photographs while many
25
     others are the subject of pending copyright applications.
26
             13.     Plaintiff's photographs are original, creative works in which Plaintiff owns
27
     protectable copyright interests.
28

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 1
             14.    The Website is a popular and lucrative commercial enterprise.
 2
             15.    On or about May 3, 2020, Plaintiff authored (via work-for-hire) a photograph of
 3
     a little girl in a classroom wearing a face mask (“Photograph 1”). A copy of Photograph 1 is
 4
     attached hereto collectively as Exhibit 1.
 5
             16.    On July 20, 2020, Photograph 1 was registered by the USCO under Registration
 6
     No. VA 2-213-006.
 7
             17.    On March 7, 2021, Plaintiff first observed Photograph 1 on the Website in a
 8
     story dated July 29, 2020. A copy of screengrab of the Website including Photograph 1 is
 9
     attached hereto collectively as Exhibit 2.
10
             18.    The Photograph was displayed at URL: https://gp1.com/covid-19-school-
11
     reopening-jujitsu-for-employers/.
12
             19.    The      Photograph      was     stored     at    URL:        https://gp1.com/wp-
13
     content/uploads/2020/07/Back-to-school4-1.jpg.
14
             20.    The        Photograph          was        also       stored        at       URL:
15
     https://twitter.com/GP1screening/status/1288541507989929986.
16
             21.    Without permission or authorization from Plaintiff, Defendant volitionally
17
     selected, copied, stored and displayed Plaintiff’s copyright protected photograph as set forth in
18
     Exhibit “1” on the Website.
19
            22.     Upon information and belief, the Photograph was copied, stored and displayed
20
     without license or permission, thereby infringing on Plaintiff's copyrights (hereinafter
21
     singularly the “Infringement” and collectively the “Infringements”).
22
            23.     Each Infringement includes a URL (“Uniform Resource Locator”) for a fixed
23
     tangible medium of expression that was sufficiently permanent or stable to permit it to be
24
     communicated for a period of more than transitory duration and therefore constitutes a specific
25
     infringement. 17 U.S.C. §106(5); Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160
26
     (9th Cir. 2007).
27
            24.     Each Infringement is an exact copy of the entirety of Plaintiff's original image
28

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                                            PLAINTIFF'S COMPLAINT
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 1
     that was directly copied and stored by Defendant on the Website.
 2
            25.     Upon information and belief, Defendant takes an active and pervasive role in the
 3
     content posted on its Website, including, but not limited to copying, posting, selecting,
 4
     commenting on and/or displaying images including but not limited to Plaintiff's Photograph.
 5
            26.     Upon information and belief, Defendant directly contributes to the content
 6
     posted on the Website by, inter alia, directly employing reporters, authors and editors as its
 7
     agents, including but not limited to Kaitlyn Ellis whose Defendant’s Website lists her as an
 8
     author (“Employees”).
 9
            27.     Upon information and belief, at all material times the Employees were acting
10
     within the course and scope of their employment when they posted the Infringements.
11
            28.     Upon information and belief, at all material times the Employees were acting
12
     within the course and scope of their agency when they posted the Infringements.
13
            29.     Upon information and belief, the Photograph was willfully and volitionally
14
     posted to the Website by Defendant.
15
            30.     Upon information and belief, Defendant was aware of facts or circumstances
16
     from which the determination regarding the Infringement was apparent. Defendant cannot claim
17
     that it was not aware of the infringing activities, including the specific Infringement which form
18
     the basis of this complaint, since such a claim would amount to only willful blindness to the
19
     Infringement on the part of Defendant.
20
            31.     Upon information and belief, Defendant engaged in the Infringements
21
     knowingly and in violation of applicable United States Copyright Laws.
22
            32.     Upon information and belief, Defendant has the legal right and ability to control
23
     and limit the infringing activities on its Website and exercised and/or had the right and ability
24
     to exercise such right.
25
            33.     Upon information and belief, Defendant monitors the content on its Website.
26
            34.     Upon information and belief, Defendant has received a financial benefit directly
27
     attributable to the Infringements.
28

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                                             PLAINTIFF'S COMPLAINT
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 1
            35.     Upon information and belief, the Infringements increased traffic to the Website
 2
     and, in turn, caused Defendant to realize an increase its advertising revenues and/or
 3
     merchandise sales.
 4
            36.     Upon information and belief, a large number of people have viewed the unlawful
 5
     copies of the Photograph on the Website.
 6
            37.     Upon information and belief, Defendant at all times had the ability to stop the
 7
     reproduction and display of Plaintiff's copyrighted material.
 8
            38.     Defendant’s use of the Photograph, if widespread, would harm Plaintiff's
 9
     potential market for the Photograph.
10
            39.     As a result of Defendant's misconduct, Plaintiff has been substantially harmed.
11
                                             FIRST COUNT
12                        (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
13          40.     Plaintiff repeats and incorporates by reference the allegations contained in the
14   preceding paragraphs, as though set forth in full herein.
15          41.     The Photograph is an original, creative works in which Plaintiff owns valid
16   copyright properly registered with the United States Copyright Office.
17          42.     Plaintiff has not licensed Defendant the right to use the Photograph in any
18   manner, nor has Plaintiff assigned any of its exclusive rights in the Copyrights to Defendant.
19          43.     Without permission or authorization from Plaintiff and in willful violation of
20   Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, stored,
21   reproduced, distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff
22   thereby violating one of Plaintiff's exclusive rights in its copyrights.
23          44.     Defendant's reproduction of the Photograph and display of the Photograph on
24   the Website constitutes willful copyright infringement. Feist Publications, Inc. v. Rural
25   Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
26          45.     As a result of Defendants’ violations of Title 17 of the U.S. Code, Plaintiff is
27   entitled to any an award of actual damages and disgorgement of all of Defendant's profits
28

                                                        5
                                             PLAINTIFF'S COMPLAINT
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 1
     attributable to the infringements as provided by 17 U.S.C. § 504 in an amount to be proven or,
 2
     in the alternative, at Plaintiff's election, an award for statutory damages against each Defendant
 3
     for each infringement pursuant to 17 U.S.C. § 504(c).
 4
            46.      As a result of the Defendants' violations of Title 17 of the U.S. Code, the court
 5
     in its discretion may allow the recovery of full costs as well as reasonable attorney's fees and
 6
     costs pursuant to 17 U.S.C. § 505 from Defendants.
 7
            47.      As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is
 8
     entitled to injunctive relief to prevent or restrain infringement of his copyright pursuant to 17
 9
     U.S.C. § 502.
10
                                            JURY DEMAND
11
            48.      Plaintiff hereby demands a trial of this action by jury.
12

13
                                        PRAYER FOR RELIEF
14
            WHEREFORE Plaintiff respectfully requests judgment as follows:
15
            That the Court enters a judgment finding that Defendant has infringed on Plaintiff's
16
     rights to the Photographs in violation of 17 U.S.C. §501 et seq. and award damages and
17
     monetary relief as follows:
18
                     a.     finding that Defendant infringed Plaintiff's copyright interest in the
19
                            Photograph by copying and displaying without a license or consent;
20
                     b.     for an award of actual damages and disgorgement of all of Defendant's
21
                            profits attributable to the infringements as provided by 17 U.S.C. § 504
22
                            in an amount to be proven or, in the alternative, at Plaintiff's election, an
23
                            award for statutory damages against each Defendant for each
24
                            infringement pursuant to 17 U.S.C. § 504(c), whichever is larger;
25
                     c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendants from
26
                            any infringing use of any of Plaintiff's works;
27
                     d.     for costs of litigation and reasonable attorney's fees against Defendant
28

                                                        6
                                             PLAINTIFF'S COMPLAINT
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 1
                        pursuant to 17 U.S.C. § 505;
 2
                 e.     for pre-judgment interest as permitted by law; and
 3
                 f.     for any other relief the Court deems just and proper.
 4
     DATED: January 26, 2023
 5

 6                                            SANDERS LAW GROUP

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